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 7
 8                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
 9
10   RYOO DENTAL, INC. d/b/a RYOO             Case No.: 8:16-cv-001626-DOC-KES
     DENTAL and RICHARD MARCUS,
11   Individually And On Behalf Of All        PLAINTIFFS’ NOTICE OF
12   Others Similarly Situated,               MOTION & MOTION FOR FINAL
                                              APPROVAL OF CLASS
13                 Plaintiffs,                SETTLEMENT
14
                     v.                       Judge: Honorable David O. Carter
15
16   OCO BIOMEDICAL, INC.,                    DATE:      JUNE 4, 2018
                                              TIME:     8:30 A.M.
17                Defendant.                  COURTROOM: 9D
18
19
20
21
22
23
24
25
26
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28                                        i
       PLAINTIFFS’ NOTICE OF MOTION & MOTION FOR FINAL APPROVAL OF CLASS ACTION
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     TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 1
           PLEASE TAKE NOTICE that on Monday, June 4, 2018 at 8:30 a.m.,
 2
     before the United States District Court, Central District of California, Courtroom
 3
     9D, 411 West Fourth Street, Santa Ana, California 92701 (9th Floor) plaintiffs Ryoo
 4
     Dental and Richard Marcus (“Plaintiffs”) will move this Court for an order granting
 5
     final approval of the class action settlement as detailed in Plaintiffs’ Memorandum
 6
     of Points and Authorities.
 7
           This Motion is based upon this Notice, the accompanying Memorandum of
 8
     Points and Authorities, the declarations and exhibits thereto, the Complaint, all
 9
10   other pleadings and papers on file in this action, and upon such other evidence and

11   arguments as may be presented at the hearing on this matter.

12
13   Date: May 21, 2018                     Law Offices of Todd M. Friedman, PC
14
                                                   By: /s/ Todd M. Friedman
15
                                                       Todd M. Friedman
16                                                     Attorneys for Plaintiffs
17
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28                                            ii
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Plaintiffs, Ryoo Dental and Richard Marcus (hereinafter referred to as
 4   “Plaintiffs” or “Class Representatives”), individually and on behalf of the
 5   “Settlement Class” (as defined below) hereby submits his Motion for Final approval
 6   of the proposed settlement (the “Settlement”) of this action (the “Action”). 1
 7   Defendant, OCO Biomedical, Inc. (hereinafter referred to as “Defendant” or
 8   “OCO”) does not oppose Plaintiffs’ Motion. 2          This Settlement provides for
 9   significant monetary relief for Class Members allegedly harmed by Defendant’s
10   alleged violations of the Telephone Consumer Protection Act (“TCPA”), which
11   Settlement merits final approval by the Court. The settlement agreement
12   (“Settlement Agreement” and/or “Agreement” and/or “Agr.”) provides for a
13   considerable financial benefit of $275,000 (“Settlement Fund”) to the approximately
14   3,847 Settlement Class Members.
15         The Settlement Fund to be paid by OCO is an all-in, non-reversionary
16   payment. Under the Settlement, each Class Member will receive a pro rata award
17   from the Settlement Fund. Class Members are required to submit a claim form in
18   order to receive payment, and receive a pro rata share of the settlement based on the
19   number of claims filed. The Class Members were informed of the Settlement by
20   Direct Mail notice, the Long Form Notice posted on the Settlement Website.
21         Due to the economics of individually suing for minimal statutory damages of
22   $500-$1500, few of the Class Members would likely be able to obtain such recovery
23   on their own. Currently, after subtracting the attorneys’ fees and costs, the incentive
24
     award to the Class Representative, and the administrative costs from the Settlement
25
     Fund, each of the Class Members who submitted a valid claim form is entitled to a
26
27
     1
       Plaintiff and Defendants are collectively referred to as the “Parties.”
     2
       Unless otherwise specified, defined terms used in this Memorandum are intended
28   to have the meaning ascribed to those terms in the Agreement.
           PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
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     Settlement Payment, in the amount of approximately $436.15. See the Declaration
 1
     of Todd M. Friedman (“Friedman Decl.”) at ¶ 9.3
 2
           This Settlement also creates an incentive for Defendant and other businesses
 3
     to comply with the TCPA, which benefits the Class Members, consumers in general,
 4
     as well as compliant competitive businesses. See David R. Hodas, Enforcement of
 5
     Environmental Law in A Triangular Federal System: Can Three Not Be A Crowd
 6
     When Enforcement Authority Is Shared by the United States, the States, and Their
 7
     Citizens?, 54 Md. L. Rev. 1552, 1657 (1995) (“[A]llowing a violator to benefit from
 8
     noncompliance punishes those who have complied by placing them at a competitive
 9
10   disadvantage. This creates a disincentive for compliance.”).

11         Under the proposed settlement, reached with the guidance of Judge West, and

12   which was already granted preliminary approval of the Honorable Court, Defendant

13   will contribute $275,000 towards a common fund, which will be comprised of cash

14   distributions to Settlement Class Members, Attorneys Fees, and Costs of Suit.

15   Settlement Class Members were required to submit a claim form to participate in the

16   Settlement. Defendant was in possession of information relating to Class Member

17   identities, names, addresses, and phone numbers, and has provided this information

18   to Kurtzman Carson Consultants (“KCC” and/or the “Claims Administrator”). See

19   the Declaration of H. Jacob Hack (“Hack Decl.”).

20         The settlement that has been negotiated by Class Counsel is an outstanding

21   result for the Class, given that Class Members who made claims will be getting

22   approximately $436.15 and damages under the TCPA are $500. This represents a

23   significant recovery for Class Members The strength of this settlement is further

24   evidenced by the fact that KCC received a significant participation rate, zero valid

25
     3
      This sum is calculated by starting with the Common Fund of $275,000, subtracting
26   class counsel’s fees of $68,750, subtracting class counsel’s costs of $12,000,
27   subtracting the cost of notice at an estimated $42,500, subtracting the incentive
     award of $5,000 to each Plaintiff, and dividing the remainder ($141,750) by the 325
28   Class Members who submitted valid Claims. Friedman Decl. ¶ 9.
           PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
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     opt outs and zero objections to the settlement, while reaching Class Members
 1
     with Direct Mail Notice, in addition to Publication Notice. This is an outstanding
 2
     settlement that should be given final approval. There is no reason for any other result
 3
     to be reached.
 4
     II.      STATEMENT OF FACTS
 5
              A.     Factual Background
 6
              OCO is a manufacturer of dental implants and attachment systems, as well
 7
     as a provider of dental implant courses. OCO also maintains a with products and
 8
     courses advertised.      During the Class Period, OCO sent 3,847 facsimiles in
 9
10   connection with its marketing campaigns. See Friedman Decl., ¶ 7. Plaintiffs’

11   operative Complaint alleges OCO violated the Telephone Consumer Protection Act,

12   47 U.S.C. § 227, et seq. (“TCPA”) by sending unsolicited facsimiles without

13   obtaining “prior express consent,” and without the proper opt-out notice. Plaintiffs

14   contend they and the Class are entitled to statutory damages pursuant to the TCPA.

15   OCO has vigorously denied and continues to deny that it violated the TCPA, and

16   denies all charges of wrongdoing or liability asserted against it in the Action.

17            B.     Proceedings to Date

18                 1. The Ryoo Action.

19         On September 2, 2016, Ryoo filed a Class Action Complaint in Ryoo Dental, Inc.

20   v. OCO Biomedical Inc., Case No. 8:16-cv-01626 (C.D. Cal.) (“Ryoo Action).”

21   Ryoo alleged a cause of action for unintentional and intentional violations of the

22   TCPA based on unsolicited facsimile advertisements. Ryoo sought $500 per

23   violation and $1,500 for each intentional violation, as well as injunctive relief.

24   Ryoo’s claim was brought on behalf of a class of individuals who allegedly received

25   from OCO unsolicited facsimile advertisements. (Dkt. No. 1.) On November 17,

26   2016, OCO answered Ryoo’s Complaint and pleaded numerous affirmative

27   defenses. (Dkt. No. 13.) Ryoo and OCO submitted a joint proposed scheduling plan.

28   (Dkt. No. 19.) On January 13, 2017, the Court ordered private mediation. (Dkt 21.)

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                                           3
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                2. The Marcus Action.
 1
        On March 18, 2016, Marcus filed a Class Action Complaint in Richard Marcus
 2
     v. OCO Biomedical Inc., Case No. 3:16-cv-01519-AET-LHG (D. N.J.) (“Marcus
 3
     Action”) for alleged violations of the Telephone Consumer Protection Act.
 4
     Schmierer Decl., par. 5. On May 5, 2016, Defendant filed an answer to the complaint
 5
     pleading numerous defenses. Id., par. 6. On September 13, 2016, Plaintiff served: (i)
 6
     Request for Admissions; (ii) First Set of Requests for the Production of Documents;
 7
     and (iii) First Set of Interrogatories. Id. par. 12. On October 24, 2016, the Defendant
 8
     served its responses to this discovery. Id. par. 13. The parties met and conferred
 9
10   concerning Defendant’s production and participated in a discovery telephone

11   conference with Magistrate Judge Goodman on November 16, 2016. Id. par. 16-17.

12   Plaintiff served documents responsive to February 10, 2017, Defendant filed a

13   motion for summary judgment. Id. par. 25.

14              3. Mediation.

15      Because of the similarity in the classes pleaded in the Ryoo Action and the

16   Marcus Action, Plaintiffs agreed to mediate both actions together and work jointly

17   going forward. Lehrman Decl., par. 13. Therefore, the Parties attended all-day

18   mediation with the Honorable Hon. Carl J. West (Ret.) of JAMS on March 3, 2017.

19   Id. The Parties did not resolve the case at the all-day mediation, but with continued

20   assistance from Judge West reached this Settlement. Id. As part of the proposed

21   settlement, the Parties agreed to seek the transfer of the Marcus Action to the Central

22   District of California and for Marcus to be consolidated with the instant action. Id.

23   As set forth below, Plaintiffs request that the Court approve the Settlement.

24         C.     Statement of Facts

25                1.     The Settlement Class

26                       a.     The Settlement Class

27         The “Settlement Class” is defined in the Agreement as follows:

28                All persons or business entities who were sent a telephone

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                 facsimile message of material advertising the commercial
 1
                 availability or quality of any property, goods, or services
 2               by or on behalf of OCO Biomedical, Inc. on or after March
                 18, 2012.
 3
 4               Agreement § 10.7, p. 2.
 5
                        b.    Class Membership Determination
 6
           1.    The Settlement Class consists of all persons who were sent an
 7
     unsolicited facsimile by OCO during Class Period, as stated above. Counsel for
 8
     OCO Biomedical provided KCC a zip file containing the names, addresses, and fax
 9
     numbers of 3,847 Class Members. KCC performed 2 rounds of reverse lookups to
10
     retrieve the name and address information for these records. A total of 2,181 unique
11
     records returned with a valid mailing address.
12
           2.    Settlement Payment
13
           Under the Proposed Settlement, OCO agrees to establish a Settlement Fund in
14
     the amount of $275,000 (Agreement § 10.35, p. 4) in order to fund the following:
15
     (1) providing notice to Class Members; (2) providing settlement checks to Class
16
     Members entitled to receive a settlement check; (3) creating and maintaining the
17
     Settlement Website; (4) maintaining a toll-free telephone number; (5) providing
18
     CAFA notice (Agreement § 8.3, p. 6) (6) to pay the proposed $5,000 Incentive
19
     Payment to the Plaintiff (Agreement § 13.6, p. 8); and (7) payment of the proposed
20
     Attorneys’ Fees of $68,750 (25% of the Settlement Fund) and litigation costs of up
21
     to $12,000 (Agreement § 13.5, p. 8). Any funds remaining from uncashed checks
22
     and similar leftover funds a cy pres distribution shall be paid to Medical Aid for
23
     Children of Latin America, Inc.4 (Agreement § 10.35.2, p. 5.)
24
25
     4
      MACLA is a 501(c)(3) not-for-profit organization that for every year since 1985
26   has been sending volunteer medical and surgical personnel for 2-3 weeks to the
27   Dominican Republic to perform for underprivileged children and adults free
     surgeries to correct deformities such as cleft lips and palates.
28

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                  3.    Monetary Benefit to Class Members and Class Notice
 1
            The Settlement Agreement provides for $275,000 in cash benefits (minus
 2
     Settlement Costs, attorney’s fees, and litigation costs) to Class Members on a pro
 3
     rata basis after the claims period. There are approximately 2,181 Class Members
 4
     with unique fax numbers that received facsimiles from OCO. Pursuant to the
 5
     Agreement, the Claims Administrator provided notice via mail or email within 35
 6
     business days of the Preliminary Approval Order. (Agreement § 12.2, p. 6.). Claims
 7
     Forms were also made available on the Settlement Website.
 8
            The Claims Period ended March 30, 2018, which is 130 days after the
 9
10   Preliminary Approval Order was issued. (Agreement § 10, pp. 8-9), and the opt out

11   and objection deadline was set for March 30, 2018. Dkt. No. 39. To date, there have

12   been 325 valid Claims made. Friedman Decl. ¶ 8. The Class Members who file a

13   Claims Form and do not Opt Out and/or Object will each receive a pro-rata share.

14   After fees, costs and administration expenses, there will be approximately $141,750

15   in available funds to be distributed to the Class. Friedman Decl. ¶ 9.

16   III.   ACTIVITY IN THE CASE AFTER PRELIMINARY APPROVAL
17          The Claims Administrator’s compliance is described below.
18          A.    CAFA Notice
19          The CAFA notice was mailed by Defendant in compliance with the § 3.4 of
20   the Settlement Agreement. Hack Declaration ¶.           Counsel have received no
21   communications from any state Attorney Generals’ Offices.
22
            B.    Direct Mail Notice Provided
23          KCC complied with the notice procedure set forth in the Preliminary
24
     Approval Order. Dkt. No. 39. As required by the Preliminary Approval Order,
25
     KCC mailed individual notices by direct mail or email to the settlement Class
26
     Members that included a summary of the Settlement’s terms. Hack Decl., ¶ 2-9 Ex
27
     C. The direct mail notice also informed the Class Members of the Settlement
28

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                                         6
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     Website      address:   (http://ryoodentalocosettlement.com/)   and    the   Claims
 1
     Administrator’s toll-free telephone, where Class Members could obtain further
 2
     information about the Settlement and also make a claim. Id. ¶ 3.
 3
             Counsel for OCO provided KCC a zip file containing the names, addresses,
 4
     and fax numbers of 3,847 Class Members. KCC performed 2 rounds of reverse
 5
     lookups to retrieve the name and address information for these records. A total of
 6
     2,181 unique records returned with a valid mailing address. On January 29, 2018,
 7
     KCC mailed a Notice Packet to 2,181 Class Members.
 8
             KCC also sent Email Notice to 41 Class Members who had a valid email
 9
10   address. To date, 268 unique Class Members had their Notice Packets returned as

11   undeliverable. KCC ran a search for an updated address for Class Members who’s

12   Notice Packet was returned as undeliverable, and updated and re-mailed the Notice

13   Packet to 84 Class Members. The deadline to submit a Claim Form was March 30,

14   2018.

15           To date, KCC has received 280 timely paper claims, 34 timely claims

16   submitted online, and 11 late claims, which will be included as timely. See Hack

17   Decl., ¶ 10. Notice was also given by way of targeted publication in Dentistry

18   Today. Id. at ¶ 5. There is no reason to believe that this targeted approach does not

19   satisfy the due process requirements of sufficient reach to the Class, especially

20   given the relatively high participation rate.

21           C.    Formal Notice Posted On The Settlement Website and Publication

22           In compliance with the Preliminary Approval Order, KCC posted on the

23   Settlement Website the detailed and full notice in a question and answer format, the

24   approval papers, the settlement agreement and the long form notice. Hack Decl. ¶

25   3. The Settlement Website provided notice of the proposed Settlement to the Class

26   Members, in addition to the Direct Mail Notice.

27           In addition, on December 27, 2017, KCC caused the Summary Notice to be

28   published in the January edition of Dentistry Today. See Hack Decl.

             PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT
                                          7
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           D.     Objections, Opt Outs, and Settlement Payouts
 1
           Class Members were provided with significant time to review the Settlement,
 2
     make timely opt outs and objections. After this time period had lapsed, KCC has
 3
     reported that, to date, there were zero opt outs and zero objectors to the Settlement.
 4
     Friedman Decl. ¶ 8. The deadline to submit a Request for Exclusion or Object was
 5
     March 30, 2018. The fact that there were not only zero objections, but zero opt outs
 6
     highly supports the adequacy of the proposed Settlement. Id. See In re Diamond
 7
     Foods, Inc., 2014 U.S. Dist. LEXIS 3252, *9 (N.D. Cal. Jan. 10, 2014) (“Also
 8
     supporting approval is the reaction of class members to the proposed class
 9
10   settlement. After 67,727 notices were sent to potential class members, there have

11   been only 29 requests to opt out of the class and no objection to the settlement or

12   the requested attorney’s fees and expenses.”).

13         1.     Settlement Checks and Credits

14         The net Settlement Fund available to pay Class Members is $275,000, which

15   was determined by subtracting the anticipated Class Representative incentive

16   award of $5,000.00, Class Counsels’ requested fees of $68,750, Class Counsels’

17   litigation expenses of up to $12,000, and the Settlement Administration costs from

18   the Settlement Fund of $275,000. Friedman Decl. ¶ 9. This sum shall be divided

19   by the 325 valid claims submitted by Class Members, which equates to each

20   Claimant receiving approximately $436.15. Friedman Decl. ¶ 9.

21         2.     Class Representative’s Incentive Payment

22         District Courts in California have opined that in many cases, an incentive

23   award of $5,000 is presumptively reasonable. See Bellinghausen v. Tractor Supply

24   Co., 306 F.R.D. 245, 266-67 (N.D. Cal. Mar. 20, 2015) – finding that “[i]n this

25   district, a $5,000 payment is presumptively reasonable. See also In re Online DVD-

26   Rental Antitrust Litigation, 779 F.3d 934, 942-43 (9th Cir. Feb. 27, 2015) (finding

27   that the District court did not abuse its discretion in approving settlement class in

28   antitrust class action, despite objector’s contention that the nine class

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     representatives were inadequate because their representatives’ awards, at $5,000
 1
     each, were significantly larger than the $12 each unnamed class member would
 2
     receive); In re Toys R Us – Delaware, Inc. – Fair and Accurate Credit Transactions
 3
     Act (FACTA) Litigation, 295 F.R.D. 438, 472 (C.D. Cal. Jan. 17, 2014) (finding that
 4
     request for recovery of $5,000 incentive award for each named plaintiff in
 5
     consumers’ action against children’s toy retailer alleging retailer violated the Fair
 6
     and Accurate Credit Transactions Act (FACTA) by printing more than the last four
 7
     digits of consumers’ credit card numbers on customer receipts, was reasonable;
 8
     parties’ settlement agreement provided for incentive payments of $5,000 to each
 9
10   named plaintiff, those awards were consistent with the amount courts typically

11   awarded as incentive payments).

12         Pursuant to the Agreement and the Preliminary Approval Order, and subject

13   to Court’s final approval, Defendant has agreed that the Plaintiffs may be paid from

14   the Settlement Fund an incentive award of up to $5,000, in recognition of Plaintiffs’

15   service as the Class Representatives. Agr. § 13.6. The Court should approve the

16   $5,000 incentive payment to compensate Plaintiffs for their time and efforts in

17   litigating this case on behalf of the Class because it is in in line with the Ninth

18   Circuit’s directives in Radcliffe v. Experian Info. Solutions, Inc., 2013 U.S. App.

19   LEXIS 9126 (9th Cir. Mar. 4, 2013).

20         3.     Attorneys’ Fees and Costs

21         The Agreement permits Class Counsel to file an application for attorneys’

22   fees, not to exceed 25% of the Settlement Fund (the benchmark in the Ninth Circuit

23   is 25%, Hanlon, 150 F.3d at 1029), as well as litigation costs to be paid from the

24   Settlement Fund, not to exceed $12,000. Agr. § 13.5. That amount of Attorneys’

25   fees requests ($68,750) and litigation costs (up to $12,000) sought to date by Class

26   Counsel is explained in more detail in Plaintiffs’ Fee Brief. The Court should

27   approve the award of the requested attorneys’ fees and costs to compensate Class

28   Counsel for their time and efforts in litigating this case on behalf of the Class and

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     the named Plaintiff, having obtained good results for the Class.
 1
           4.     Administrator’s Expenses For Notice and Administration
 2
           Defendant has agreed to pay all costs of notice and claims administration
 3
     from the Settlement Fund. KCC has provided a declaration in support of these
 4
     costs. See Hack Decl.
 5
     IV.   ARGUMENT
 6
            A.    Final Approval of The Proposed Settlement Is Warranted
 7
           The Court has already preliminarily found the requirements of Fed. R. Civ. P.
 8
     23 are satisfied. See generally Preliminary Approval Order, Dkt. No. 39. The
 9
10   relevant factors demonstrate that the proposed Settlement should be finally approved

11   as fair, reasonable and adequate.      Since preliminary approval, Plaintiffs have

12   continued to serve as adequate Class Representatives by reviewing documents and

13   papers in support of motions, including the present motion; and Plaintiffs support

14   final approval of the proposed settlement. Moreover, Class Counsel have also

15   continued to adequately represent the interests of the Class Members and the named

16   Plaintiffs, having, among other things, timely disseminating Class Notice,

17   communicating promptly with class members who contacted class counsel with

18   questions, filing the Fee Brief, and assisting with settlement administration.

19         “Unlike the settlement of most private civil actions, class actions may be

20   settled only with the approval of the district court.” Officers for Justice v. Civil

21   Service Com’n of City and County of San Francisco, 688 F.2d 615, 623 (9th Cir.

22   1982). “The court may approve a settlement . . . that would bind class members only

23   after a hearing and on finding that the settlement . . . is fair, reasonable, and

24   adequate.” Fed. R. Civ. P. 23(e)(1)(C). The Court has broad discretion to grant such

25   approval and should do so where the proposed settlement is “fair, adequate,

26   reasonable, and not a product of collusion.” Hanlon v. Chrysler Corp., 150 F.3d

27   1011, 1026 (9th Cir. 1998).

28

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           “To determine whether a settlement agreement meets these standards, a
 1
     district court must consider a number of factors, including: ‘the strength of plaintiffs’
 2
     case; the risk, expense, complexity, and likely duration of further litigation; the risk
 3
     of maintaining class action status throughout the trial; the amount offered in
 4
     settlement; the extent of discovery completed, and the stage of the proceedings; the
 5
     experience and views of counsel; the presence of a governmental participant; and
 6
     the reaction of the class members to the proposed settlement.’” Staton v. Boeing
 7
     Co., 327 F.3d 938, 959 (9th Cir. 2003). “The relative degree of importance to be
 8
     attached to any particular factor will depend upon and be dictated by the nature of
 9
10   the claim(s) advanced, the type(s) of relief sought, and the unique facts and

11   circumstances presented by each individual case.” Officers for Justice, 688 F.2d at

12   625. The Court must balance against the continuing risks of litigation and the

13   immediacy and certainty of a substantial recovery. See Girsh v. Jepson, 521 F.2d

14   153, 157 (3d Cir. 1975); In re Warner Communications Sec. Litig., 618 F. Supp.

15   735, 741 (S.D. N.Y. 1985).

16         The Ninth Circuit has long supported settlements reached by capable

17   opponents in arms’ length negotiations. In Rodriguez v. West Publishing Corp., 563

18   F.3d 948 (9th Cir. 2009), the Ninth Circuit expressed the opinion that courts should

19   defer to the “private consensual decision of the [settling] parties.” Id. at 965 (citing

20   Hanlon, 150 F.3d at 1027 (9th Cir. 1998)). The district court must exercise “sound

21   discretion” in approving a settlement. See Torrisi v. Tucson Elec. Power Co., 8 F.3d

22   1370, 1375 (9th Cir. 1993); Ellis v. Naval Air Rework Facility, 87 F.R.D. 15, 18

23   (N.D. Cal. 1980), aff’d 661 F.2d 939 (9th Cir. 1981). However, “where, as here, a

24   proposed class settlement has been reached after meaningful discovery, after arm’s

25   length negotiation conducted by capable counsel, it is presumptively fair.” M.

26   Berenson Co. v. Faneuil Hall Marketplace, Inc., 671 F.Supp. 819, 822 (D. Mass.

27   1987); In re Ferrero Litig., 2012 U.S. Dist. LEXIS 15174, *6 (S.D. Cal. Jan. 23,

28   2012) (“Settlements that follow sufficient discovery and genuine arms-length

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     negotiation are presumed fair.”) (citing Nat’l Rural Telcoms. Coop. v. Directv, Inc.,
 1
     221 F.R.D. 523, 528 (C.D. Cal. 2004)).
 2
           Application of the relevant factors here confirms that the proposed settlement
 3
     should be finally approved. Notably, this Settlement was reached with the assistance
 4
     of experienced mediator Judge Carl J. West (Ret.), which shows a lack of collision
 5
     between the Parties. See Jones v. GN Netcom, Inc. (In re Bluetooth Headset Prods.
 6
     Liab. Litig.), 654 F.3d 935, 948 (9th Cir. Cal. 2011). Based on the facts of this case,
 7
     Class Counsel and the named Plaintiffs agree that this settlement is fair and
 8
     reasonable; among other things, the settlement will avoid costly and time-consuming
 9
10   additional litigation and the need for trial.

11                1.     The Strength of The Lawsuit And The Risk, Expense,
                         Complexity, And Likely Duration of Further Litigation
12
13         Defendant has vigorously contested the claims asserted by Plaintiffs in this
14   Action. Although Plaintiffs feel strongly about the merits of the case, there are risks
15   to continuing the Action. Class Counsel understands, despite its confidence in its
16   positions, that there are uncertainties associated with complex class action litigation
17   and that no one can predict the outcome of the case. If the Action were to continue,
18   Defendant would oppose any class certification motion made by Plaintiffs, thereby
19   placing in doubt whether a class could be certified in the Action, and additional
20   substantive challenges to the claims might be raised.
21         This case is about Defendant’s alleged practice of sending unsolicited
22   facsimiles without the proper opt-out notice to Class Members without their prior
23   express consent. Plaintiffs allege that this violates of the TCPA.
24         In considering the Settlement, Plaintiffs and Class Counsel carefully balanced
25   the risks of continuing to engage in protracted and contentious litigation against the
26   benefits to the Class including the significant benefit and the deterrent effects it
27   would have. As a result, Class Counsel supports the Settlement and seeks its Final
28   Approval. Similarly, Defendant believes that it has strong and meritorious defenses

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     to the action as a whole, as well as to class certification and the amount of damages
 1
     sought. The negotiated Settlement is a compromise avoiding the risk that the class
 2
     might not recover and presents a fair and reasonable alternative to continuing to
 3
     pursue the Action as a class action for alleged violations of the TCPA. What is more,
 4
     Judge West, who is intimately familiar with the instant litigation as well as the
 5
     current climate of TCPA litigation as a whole, agrees with the parties.
 6
                  2.    The Amount Offered In Settlement
 7
           As set forth above, Defendant has agreed to a common fund settlement in the
 8
     amount of $275,000. After administration costs, proposed attorney’s fees, costs of
 9
10   suit, and the proposed incentive award, Settlement Class Members will collectively

11   receive $141,750 of these available funds. Friedman Decl. ¶ 9. Class Members who

12   made claims will each receive a pro rata share of that sum, in an amount of $436.15

13   each. Id. This is a highly favorable per-person recovery for the Class. Moreover,

14   this outstanding result was achieved without having to subject Settlement Class

15   members to the substantial risks ahead in litigation, which include having to achieve

16   class certification, and surviving a motion for summary judgment premised on

17   Defendant’s arguments, including the arguments raised herein regarding Article III

18   standing and Plaintiffs’ injuries, among other risks.

19         The settlement award that each Class Member will receive is fair, appropriate,

20   and reasonable given the purposes of the TCPA, the limitations of class-wide

21   liability, and in light of the anticipated risk, expense, and uncertainty of continued

22   litigation. Although it is well-settled that a proposed settlement may be acceptable

23   even though it amounts to only a small percentage of the potential recovery that

24   might be available to the class members at trial, here, the Settlement provides

25   significant and meaningful relief that is comparable to what the Class Members

26   would receive if Plaintiffs were able to prevail on class certification, took the case

27
28

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     to trial and obtained a judgment.5 Moreover, Class Members were able to avoid the
 1
     time, expense and risk associated with bringing their own individual TCPA action,
 2
     where they would be anticipated to receive a sum on the lower end of the $500-
 3
     $1,500 in statutory damages awardable under the TCPA.
 4
            The relief afforded to the Class Members here is in line with the relief given
 5
     in other similar TCPA class settlements. Below is a chart of eleven (11) similar
 6
     TCPA class action settlements which have received approval, including the value to
 7
     each proposed class member for the respective case.
 8
 9       Case and No.        Size of Class       Settlement           Value per Class
                                                 Amount               Member
10
         Robles v. Lucky     216,000             $9.9 Million         $100 maximum
11       Brand Dungarees,
         Inc.
12
         Case No. 3:10-cv-
13       04846 (NDCA)
14       Adams v.            5.63 Million        $9 Million           $40 maximum
         AllianceOne, Inc.
15       Case No. 08-cv-
16       0248 (SDCA)
         Hartman v.          148,843             $3.8 Million         $25.53 maximum
17       Comcast Business
18       Communications
         2:10-cv-00413-
19       RSL
20       (WDWA)

21
22   5
       National Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal.
23   2004) (“well settled law that a proposed settlement may be acceptable even though
     it amounts to only a fraction of the potential recovery”); In re Global Crossing Sec.
24   and ERISA Litig., 225 F.R.D. 436, 460 (E.D. Pa. 2000) (“the fact that a proposed
25   settlement constitutes a relatively small percentage of the most optimistic estimate
     does not, in itself, weigh against the settlement; rather, the percentage should be
26   considered in light of strength of the claims”); In re Omnivision Tech., Inc., 559 F.
27   Supp. 2d 1036 (N.D. Cal. Jan. 9, 2008) (court-approved settlement amount that was
     just over 9% of the maximum potential recovery); In re Mego Fin’l Corp. Sec. Litig.,
28   213 F. 3d 454, 459 (9th Cir. 2000).
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      Case and No.        Size of Class    Settlement        Value per Class
 1
                                           Amount            Member
 2    Hovila v. Tween
 3    Brands, Inc.        100,000          $5.33 Million Max $20 Cash; or
      09-cv-00491-RSL                                        $45 Gift
 4
      (WDWA)                                                 Certificate
 5
      Clark v. Payless    8 Million        $6.25 Million     $25 Gift
 6
      Shoesource, Inc.                                       Certificate
 7    09-cv-00915-JCC
      (WDWA)
 8
 9    Cubbage v. The  18,000               $1.44 Million     $80 Gift
10    Talbots, Inc.                                          Certificate
      09-cv-00911-BHS                                        ($40 Cash Value)
11    (WDWA)
12
      In Re Jiffy Lube    2.3 Million      $47 Million       $17.29 Gift
13    3:11-md-02261                                          Certificate
14                                                           ($12.97 Cash
                                                             Redemption)
15
      Bellows v. NCO      Unknown, but in $950,000           $70
16    Financial           the thousands
17    07-cv-1413-
      W(AJB)
18    (SDCA)
19    Lemieux v. Global   27,844           $505,000          $70
      Credit &
20    Collection
21    08-cv-1012-
      IEG(POR)
22    (SDCA)
23    Gutierrez v.        66,100                             $100
      Barclays Group
24    10-cv-1012
25    (SDCA)

26
27
28

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                                      15
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       Case and No.          Size of Class        Settlement           Value per Class
 1
                                                  Amount               Member
 2     Arthur v. Sallie                           $24.15 Million       Between $20 and
 3     Mae, Inc.                                                       $40
 4     10-cv-0198,
       (WDWA)
 5
 6
                   3.     Class Members were provided with the best notice possible,
 7                        which afforded them an opportunity to choose whether to
                          participate in the Settlement
 8
           Rule 23(c)(2)(B) provides that, in any case certified under Rule 23(b)(3), the
 9
     court must direct to class members the “best notice practicable” under the
10
     circumstances. Rule 23(c)(2)(B) does not require “actual notice” or that a notice be
11
     “actually received.” Silber v. Mabon, 18 F. 3d 1449, 1454 (9th Cir. 1994). Final
12
     approval of the Settlement should be granted when considering the notice provided
13
     to the Class Members, i.e., direct mail or email notice to the majority of the Class,
14
     and notice also by highly targeted publication in Dentistry Today. See Hack Decl.,
15
     ¶¶ 3-10; Friedman Decl. ¶ 7.
16
           It is also noteworthy that the settlement received positive responses from
17
     Class Members, as illustrated by the relatively high claims rate of 8.5%. Moreover,
18
     it is well-settled that a proposed settlement may be accepted where the recovery
19
     represents a fraction of the maximum potential recovery. See e.g., Nat’l Rural Tele.
20
     Coop v. DIRECTV, Inc., 221 F.R.D 523, 527 (C.D. Cal. 2004) (“well settled law that
21
     a proposed settlement may be acceptable even though it amounts to only a fraction
22
     of the potential recovery”); In re Global Crossing Sec. ERISA Litig., 225 F.R.D. 436,
23
     460 (E.D. Pa. 2000) (“the fact that a proposed settlement constitutes a relatively
24
     small percentage of the most optimistic estimate does not, in itself, weigh against
25
     the settlement; rather, the percentage should be considered in light of strength of the
26
     claims”); In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000)
27
     (approving a settlement that comprised one-sixth of plaintiffs’ potential recovery).
28

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     Again, despite this general acceptance, the settlement at issue here results in the
 1
     Class receiving comparable relief to what they would potentially be able to receive
 2
     in a judgment. It is an outstanding settlement in every respect. Moreover, given that
 3
     direct mail notice and publication notice were both used, for reasons that were
 4
     approved by The Honorable Court at preliminary approval, this was the best notice
 5
     practicable for the Class Members under the circumstances.
 6
 7                4.     The Extent of Discovery Completed
 8         The proposed Settlement is the result of intensive arms-length negotiations,
 9   which included several months of discovery into the nature of the practices, and the
10   size of the Class affected by them. The parties also engaged in a full-day mediation
11   session before Judge West. Prior to the mediation, the Parties engaged in both
12   formal and informal discovery surrounding Plaintiffs’ claims and Defendant’s
13   defenses.   The Parties also participated in direct discussions about possible
14   resolution of this litigation, including numerous telephonic conferences, which
15   ultimately resulted in a general understanding of the Settlement terms.
16         The important information needed in these cases is primarily how many Class
17   Members’ were subjected to the practices at issue. This information was obtained
18   through both formal and informal discovery. Thus, the litigation here had reached
19   the stage where “the parties certainly have a clear view of the strengths and
20   weaknesses of their cases.” Warner Communications, 618 F. Supp. at 745.
21         Considering that four of the main disputed issues between the Parties are legal
22   (i.e., Did Defendant obtain prior express consent to send the facsimiles?, Did the
23   facsimiles contain the proper opt-out notice?, Did the Plaintiffs suffer an injury? And
24   is a class action maintainable under Fed. R. Civ. P. 23?), and not factual in nature,
25   the Parties have exchanged sufficient information to make an informed decision
26   about settlement. See Linney v. Cellular Alaska Partnership, 151 F.3d 1234, 1239
27   (9th Cir. 1998).
28

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                  5.     The Experience And Views of Class Counsel
 1
           “The recommendations of plaintiff’s counsel should be given a presumption
 2
     of reasonableness.” Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979).
 3
     The presumption of reasonableness in this action is fully warranted because the
 4
     settlement is the product of arm’s length negotiations conducted by capable,
 5
     experienced counsel. See M. Berenson Co., 671 F. Supp. at 822; Ellis, 87 F.R.D. at
 6
     18 (“that experienced counsel involved in the case approved the settlement after
 7
     hard-fought negotiations is entitled to considerable weight”); 2 Newberg on Class
 8
     Actions § 11.24 (4th Ed. & Supp. 2002); Manual for Complex Lit., Fourth § 30.42.
 9
10         Here, it is the considered judgment of experienced counsel that this settlement

11   is a fair, reasonable and an adequate settlement of the litigation. See Friedman Decl.,

12   ¶ 4-20;Eisenberg Decl. at ¶¶ 15-34; Lehrman Decl. at ¶¶ 5-14, 31; Schmierer Decl.

13   ¶¶ 3-27, 41. Class Counsel are experienced consumer class action lawyers. This

14   Settlement was negotiated at arms’ length by experienced and capable Class Counsel

15   who now recommend its approval. Id. Moreover, the Settlement was reached after

16   the assistance of Judge West (Ret.). Given their experience and expertise, Class

17   Counsel are well-qualified to not only assess the prospects of a case, but also to

18   negotiate a favorable resolution for the class. Id. Class Counsel have achieved such

19   a result here in this TCPA class action, and unequivocally assert that the proposed

20   Settlement should receive final approval. Id.

21                6.     The Reaction of Class Members To The Settlement

22         The fact that there are now zero objections, zero opt valid outs from the

23   Class Members, should say all that needs to be said about the outstanding settlement

24   that was reached here for the Class. See Detroit v. Grinnell Corp., 495 F.2d 448,

25   463 (2d Cir. 1974); Warner Communications, 618 F. Supp. at 746; Steinfeld v.

26   Discover Fin. Servs., 2014 U.S. Dist. LEXIS 44855, *21 (N.D. Cal. Mar. 31, 2014)

27   (only specific objections or comments from 9 class members, and 239 out of the

28   approximately 8 million class members chose to opt out). There has absolutely zero

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     resistance to the Settlement. Friedman Decl. ¶ 8; Hack Decl ¶ 11-12. Moreover,
 1
     there was a 8.5% take rate on this case, which is higher than typical in these types of
 2
     cases, and indicates that Class Members were very interested in receiving settlement
 3
     benefits. Hack Decl ¶¶ 6-10.
 4
     V.      CONCLUSION
 5
             In sum, the Parties have reached this Settlement following extensive arms’
 6
     length negotiations, including with the assistance of Judge Carl J. West (Ret.). The
 7
     Settlement is fair and reasonable to the Class Members who were afforded notice
 8
     that complies with due process. For the foregoing reasons, Plaintiffs respectfully
 9
10   requests that the Court:

11         Grant final approval of the proposed settlement;

12         Order payment from the settlement proceeds in compliance with the Court’s

13           Preliminary Approval Order and the Agreement;

14         Grant the Motion For Attorney’s Fees, Costs, and Incentive Payment;
15         Enter the proposed Final Judgment and Order of Dismissal With Prejudice
16           submitted herewith; and,
17         Retain continuing jurisdiction over the implementation, interpretation
18           administration and consummation of the Settlement.
19
20   Date: May 21, 2018                      Law Offices of Todd M. Friedman, PC
21
                                                   By: /s/ Todd M. Friedman
22                                                     Todd M. Friedman
23                                                     Attorneys for Plaintiffs
24
25
26
27
28

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                              CERTIFICATE OF SERVICE
 1
 2   Filed electronically on this 21st day of May, 2018, with:
 3
     United States District Court CM/ECF system
 4
     Notification sent electronically on this 21st day of May, 2018, to:
 5
 6   Honorable Judge David O. Carter
     United States District Court
 7
     Central District of California
 8
     Esteban Morales
 9
     Mintz Levin Cohen Ferris Glovsky and Popeo, P.C.
10
11   s/ Todd M. Friedman
     Todd M. Friedman, Esq.
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